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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
IN RE: OIL SPILL BY THE OIL RIG MDL No. 2179
“DEEPWATER HORIZON” IN THE GULF
OF MEXICO, ON APRIL 20, 2010

§
§
§
§ SECTION: J
THIS DOCUMENT RELATES TO: §
§
§
§

All cases in Pleading Bundle Section JUDGE BARBIER
ITT. B(3) (the “B3 Bundle”)
§
2:11-cv-00951-CJB-SS § MAGISTRATE JUDGE SHUSHAN

ORDER ON PLAINTIFFS’ MOTION FOR LEAVE TO AMEND COMPLAINT AND
JOINDER OF CERTAIN PERSONAL INJURY CLAIMANTS INTO PLEADING
BUNDLE “B3”

Upon consideration of Plaintiffs’ Motion for Leave to Amend Complaint and Joinder of
Certain Personal Injury Claimants into Pleading Bundle “B3,” leave of Court is hereby
GRANTED to amend Plaintiffs’ Complaint as described therein to include Exhibit B, a listing of
additional Plaintiffs who wish to join into Pleading Bundle B3 in MDL 2179, and it is

ORDERED that Exhibit B is so included.

New Orleans, Louisiana, this day of June, 2011.

UNITED STATES DISTRICT JUDGE
